  Case 18-21646      Doc 46    Filed 02/11/21 Entered 02/12/21 07:16:37               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )                BK No.:      18-21646
SAUSHA WRIGHT                                )
                                             )                Chapter: 13
                                             )
                                                              Honorable Donald R. Cassling
                                             )
                                             )
               Debtor(s)                     )

        ORDER GRANTING MOTION TO INCUR DEBT and TO SHORTEN NOTICE

       THIS MATTER coming to be heard on the motion of the Debtor, the Court having jurisdiction
over the parties and the subject matter and being duly advised in the premises and due notice having
been given to the parties entitled thereto:

   It is hereby ORDERED that:

  1) Debtor's request to shorten the notice requirement is granted.

   2) The Debtor is granted leave to obtain financing in the amount of up to $14,810.63 with financing
of an annual percentage rate of up to 13.39%, with monthly payments of up to $301.96 per month for a
2018 Chevrolet Equinox or similar vehicle.




                                                          Enter:


                                                                      Honorable Donald R. Cassling
Dated: February 11, 2021                                              United States Bankruptcy Judge

 Prepared by:
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